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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No.   2:14-cr-00330-GEB
8                  Plaintiff,
9         v.                              RELATED CASE ORDER
10   GUO NENG MA, and ASHLEY
     CHANG,
11
                   Defendants.
12

13   UNITED STATES OF AMERICA,            No.   2:14-cv-02941-MCE-DAD
14                 Plaintiff,
15        v.
16   REAL PROPERTY LOCATED AT 7520
     MUIRFIELD WAY, SACRAMENTO,
17   CALIFORNIA, SACRAMENTO
     COUNTY, APN: 048-0270-043-
18   0000, INCLUDING ALL
     APPURTENANCES AND
19   IMPROVEMENTS THERETO,
20   REAL PROPERTY LOCATED AT 7455
     WILLOWWICK WAY, SACRAMENTO,
21   CALIFORNIA, SACRAMENTO
     COUNTY, APN: 047-0265-009-
22   0000, INCLUDING ALL
     APPURTENANCES AND
23   MPROVEMENTS THERETO,
24   REAL PROPERTY LOCATED AT 2381
     KENWORTHY WAY, SACRAMENTO,
25   CALIFORNIA, SACRAMENTO
     COUNTY, APN: 053-0021-010-
26   0000, INCLUDING ALL
     APPURTENANCES AND
27   IMPROVEMENTS THERETO, and
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1    REAL PROPERTY LOCATED AT 1724
     S STREET, SACRAMENTO,
2    CALIFORNIA, SACRAMENTO
     COUNTY, APN: 009-0096-008-
3    0000, INCLUDING ALL
     APPURTENANCES AND
4    IMPROVEMENTS THERETO,

5                 Defendants.

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7               On December 19, 2014, the government filed a “Notice of

8    Related Cases” in which it states:

9                    The United States of America, by and
                through    its    undersigned    attorney,   and
10              pursuant to the provisions of Local Rule 123,
                hereby gives notice that the above-entitled
11              actions are related within the meaning of
                Local Rule 123 because the civil forfeiture
12              action and the criminal action arise from the
                same   law   enforcement    investigation   and,
13              therefore, involve substantially the same
                events,      transactions,      and     parties.
14              Particularly, the related criminal action
                alleges that Ashley Chang and Guo Neng Ma
15              conspired to distribute and possess with
                intent to distribute marijuana in the Eastern
16              District of California from December 2013 to
                October 2014. The instant civil forfeiture
17              complaint     alleges   that    the    defendant
                properties are forfeitable to the United
18              States based on its connection to Chang’s
                marijuana trafficking. Accordingly, the civil
19              forfeiture case and the related criminal
                action create an identity of issues and are
20              likely to entail substantial duplication of
                labor if heard by different judges.
21
                     For the foregoing reasons, the United
22              States respectfully requests that the two
                cases be assigned to a single district judge.
23

24   (Notice of Related Cases, ECF No. 23.)

25              Examination of the above-entitled actions reveals that

26   they are related within the meaning of Local Rule 123. Under the

27   regular   practice   of   this   Court,   related   cases   are   generally

28   assigned to the judge and magistrate judge to whom the first
                                          2
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1    filed action was assigned.          Therefore, action No. 2:14-CV-02941

2    is reassigned to Judge Garland E. Burrell, Jr., and for all

3    further proceedings, and any date currently set in the reassigned

4    case is VACATED. Henceforth the caption on documents filed in the

5    reassigned case shall show the initials “GEB-DAD.”

6                 Further, a Status Conference is scheduled in action No.

7    2:14-cv-02941 before the undersigned judge on May 4, 2015, at

8    9:00 a.m.      A joint status report shall be filed no later than

9    fourteen (14) days prior.1

10                The   Clerk    of   the    Court    shall    make      appropriate

11   adjustment in the assignment of civil cases to compensate for

12   this reassignment.

13   Dated:    December 23, 2014

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           The failure of one or more of the parties to participate in the
26   preparation of the Joint Status Report does not excuse the other parties from
     their obligation to timely file a status report in accordance with this Order.
27   In the event a party fails to participate as ordered, the party timely
     submitting the status report shall include a declaration explaining why it was
28   unable to obtain the cooperation of the other party or parties.
                                            3
